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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. OLIVER2015 OK 4Case Number: SCBD-6224Decided: 01/26/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 4, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JEREMY DANIEL OLIVER, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of two Criminal Informations and a Plea, in which Jeremy Daniel Oliver entered a plea of no contest to one count of Publishing, Distributing or Participating in Obscene Material, and one count of Possession of a Controlled Dangerous Substance, in violation of Okla. Stat. Tit. 21, §§ 1048.8 and Okla. Stat. Tit. 63, §§ 2-402, respectively. The OBA also forwarded a certified copy of the Sentence.

Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Jeremy Daniel Oliver is immediately suspended from the practice of law. Jeremy Daniel Oliver is directed to show cause, if any, no later than February 6, 2015, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until February 18, 2015, to respond to Jeremy Daniel Oliver should one be filed.

Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Jeremy Daniel Oliver has until March 6, 2015, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until March 24, 2015, to respond.

DONE BY ORDER OF THE SUPREME COURT this 26th day of January, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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